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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

 KRISTEN KOPPERS and JEFFREY                         )
 KOPPERS, on behalf of themselves and all            )
 others similarly situated,                          )
                              Plaintiffs,            )     Case No. 6:17-cv-06557-MAT-JWF
         v.                                          )
                                                     )    STIPULATION AND [PROPOSED]
 WEYERHAEUSER COMPANY,                               )     ORDER TO STAY LITIGATION
                                                     )        PENDING SETTLEMENT
                                   Defendant.        )

       Plaintiffs Kristen Koppers and Jeffrey Koppers (“Plaintiffs”) and Defendant

Weyerhaeuser Company (“Weyerhaeuser” or “Defendant,” and together with Plaintiffs, the

“Parties”), through their undersigned counsel, hereby stipulate and agree as follows:

       1.      Plaintiffs filed this action on August 10, 2017 (Dkt. 1), and until the case was

stayed on December 28, 2018, the Parties had been vigorously litigating the case itself.

       2.      On November 21, 2017, the Parties attended a full-day in-person mediation of this

matter (and certain related cases) in Chicago, Illinois, overseen by an experienced mediator, the

Hon. Wayne R. Andersen (Ret.), a former United States District Judge of the Northern District of

Illinois. While this initial mediation session did not result in a settlement, the Parties continued

to have further discussions concerning settlement. Based on these continuing discussions, the

Parties participated in another full day of mediation before Judge Andersen on September 25,

2018 in Seattle, Washington. Although the case did not resolve during the September mediation

session, the Parties continued their ADR-related discussions and have now agreed on the terms

of a memorandum of understanding for settlement.

       3.      The Court previously granted the Parties’ requests to stay the case for purposes of

seeking a settlement. See Dec. 28, 2018 Order (Dkt. 54); April 1, 2019 Order (Dkt. 58). Most

recently, the Court stayed the case until April 29, 2019 and directed the Parties to file a joint
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status report on that date apprising the Court as to the status of settlement discussions. See April

1, 2019 Order (Dkt. 58).

       4.      In the time since the Court stayed this case on April 1, 2019, counsel for Plaintiffs

and Weyerhaeuser, with the continued assistance of Judge Andersen, have agreed to the terms of

a memorandum of understanding that establishes the structure and process of the settlement. To

allow the parties time to complete a final settlement agreement and to secure releases from each

of the claimants and in order to promote judicial economy, however, the Parties respectfully

request the Court to stay these proceedings for an additional sixty (60) days until June 28, 2019.

       5.      All parties in the following related actions pending in other federal courts are in

the process of filing similar Stipulations and Proposed Orders, requesting that the courts approve

a similar stay of all proceedings for purposes of settlement until June 28, 2019.

               a. Coleman, et al. v. Weyerhaeuser Co., No. 1:17-cv-01093-MN (D. Del.);

               b. Esanbock, et al. v. Weyerhaeuser Co., No. 19-1249 (8th Cir.);

               c. Walewski v. Weyerhaeuser NR Co., No. 18-1457 (10th Cir.); and

               d. Walker, et al. v. Weyerhaeuser Co., No. 2:18-cv-01637-BJR (W.D. Wash.).

And in Kipp, et al v. Weyerhaeuser Co., No. 19-1130 (3d Cir.), the parties are seeking a similar

extension to postpone briefing on Weyerhaeuser’s appeal of the district court’s denial of

Weyerhaeuser’s motion to compel arbitration.

       6.      On or before June 28, 2019, the Parties will submit a joint status report apprising

the Court as to the status of the settlement and if the settlement has been completed, will file a

stipulation of dismissal with prejudice pursuant to the schedule agreed to in the settlement

agreement.




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         WHEREFORE, the Parties respectfully request that the Court enter this Stipulation as an

Order.


 Date: April 29, 2019                        s/ Joseph C. Hashmall
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                                             Counsel for Plaintiffs and the Proposed Classes


 Date: April 29, 2019                        s/ Robert C. Collins III
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                                      Attorneys for Defendant Weyerhaeuser Company




IT IS SO ORDERED this __ day of _______, 2019.


                                      Hon. Michael A. Telesca
                                      United States District Judge




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